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                   UNITED STATES DISTRICT COURT
                                  District of Kansas
                                    (Topeka Docket)


UNITED STATES OF AMERICA,
                  Plaintiff,

              v.                                  Case No. 25-40022-TC-RES
                                                           _________________

ELIJAH EUGENE WILSON,
                 Defendant.




                          SEALED INDICTMENT

       THE GRAND JURY CHARGES:

                                       COUNT 1

              UNLAWFUL POSSESSION and TRANSFER of MACHINEGUNS
                               18 U.S.C. § 922(o)

       On and before September 8, 2023, in the District of Kansas, the defendant,

                             ELIJAH EUGENE WILSON,

did knowingly possess a machinegun, that is, a privately manufactured firearm “PMF,”

.223/5.56mm caliber, “AR-15 style” rifle, grey and black in color, bearing no serial

number, and fitted with a drop-in automatic sear, capable of automatically firing more than

one shot, without manual reloading, by a single function of the trigger.

       All in violation of Title 18, United States Code, Sections 922(o) and 924(a)(2).

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                                        COUNT 2

               UNLAWFUL POSSESSION and TRANSFER of MACHINEGUNS
                                18 U.S.C. § 922(o)

       On and before September 26, 2023, in the District of Kansas, the defendant,

                             ELIJAH EUGENE WILSON,

did knowingly possess a machinegun, that is, a privately manufactured firearm “PMF,”

.223/5.56mm caliber, “AR-15 style” rifle, black in color, bearing no serial number, and

fitted with a drop-in automatic sear, capable of automatically firing more than one shot,

without manual reloading, by a single function of the trigger and a privately manufactured

firearm “PMF,” .223/5.56mm caliber, “AR-15 style” pistol, black; and stainless steel in

color, bearing no serial number, and fitted with a drop-in automatic sear, capable of

automatically firing more than one shot, without manual reloading, by a single function of

the trigger.

       All in violation of Title 18, United States Code, Sections 922(o) and 924(a)(2).

                                        COUNT 3

               UNLAWFUL POSSESSION and TRANSFER of MACHINEGUNS
                                18 U.S.C. § 922(o)

       On and before February 22, 2024, in the District of Kansas, the defendant,

                             ELIJAH EUGENE WILSON,

did knowingly possess a machinegun, that is, a Hoffman Tactical-type, Super Safety, no

manufacturer’s markings or serial number, capable of automatically firing more than one

shot, without manual reloading, by a single function of the trigger.

       All in violation of Title 18, United States Code, Sections 922(o) and 924(a)(2).

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                                       COUNT 4

                           UNLAWFUL MAKING of FIREARMS
                                 26 U.S.C. § 5861(f)

       On and before February 26, 2024, in the District of Kansas, the defendant,

                             ELIJAH EUGENE WILSON,

knowingly and unlawfully make firearms, that is a privately manufactured firearm “PMF,”

.223/5.56mm caliber, “AR-15 style” pistol, pink and black in color, bearing no serial

number, and fitted with a drop-in automatic sear, capable of automatically firing more than

one shot, without manual reloading, by a single function of the trigger, not registered to

him in the National Firearms Registration and Transfer Record.

       All in violation of Title 26, United States Code, Sections 5841, 5861(f), and 5871.

                                       COUNT 5

              UNLAWFUL POSSESSION and TRANSFER of MACHINEGUNS
                               18 U.S.C. § 922(o)

       On and before February 26, 2024, in the District of Kansas, the defendant,

                             ELIJAH EUGENE WILSON,

did knowingly possess a machinegun, that is, a privately manufactured firearm “PMF,”

.223/5.56mm caliber, “AR-15 style” pistol, pink and black in color, bearing no serial

number, and fitted with a drop-in automatic sear, capable of automatically firing more than

one shot, without manual reloading, by a single function of the trigger.

       In violation of Title 18, United States Code, Section 922(o) with reference to Title

18, United States Code, Section 924(a)(2).



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                                        COUNT 6

        FAILURE to REGISTER as DEALER and MANUFACTURER of MACHINEGUNS
                              26 U.S.C. § 5861(a) and 5871

        Between on or about April 23, 2023, and February 26, 2024, in the District of

Kansas, the defendant,

                              ELIJAH EUGENE WILSON,

did knowingly engage in the business of manufacturing and dealing in firearms without

having paid the special occupational tax required by Title 26, United States Code, Section

5801 and without having registered as required by Title 26, United States Code, Section

5802.

        In violation of Title 26, United States Code, Sections 5861(a) and 5871.

                                        COUNT 7

                         UNLAWFUL TRAFFICKING IN FIREARMS
                                 18 U.S.C. § 933(a)(1)

        Between on or about April 23, 2023, and February 26, 2024, in the District of

Kansas, the defendant,

                              ELIJAH EUGENE WILSON,

did ship, transport, transfer, cause to be transported, or otherwise dispose of one and more

firearms, including but not limited to, the following:

                     1) a privately manufactured firearm “PMF,” .223/5.56mm caliber,
                        “AR-15 style” rifle, grey and black in color, bearing no serial
                        number, and fitted with a drop-in automatic sear, capable of
                        automatically firing more than one shot, without manual
                        reloading, by a single function of the trigger;

                     2) a privately manufactured firearm “PMF,” .223/5.56mm caliber,
                        “AR-15 style” rifle, black in color, bearing no serial number, and
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                          fitted with a drop-in automatic sear, capable of automatically
                          firing more than one shot, without manual reloading, by a single
                          function of the trigger and a privately manufactured firearm
                          “PMF,” .223/5.56mm caliber, “AR-15 style” pistol, black; and

                       3) a privately manufactured firearm “PMF,” .223/5.56mm caliber,
                          “AR-15 style” pistol, pink and black in color, bearing no serial
                          number, and fitted with a drop-in automatic sear, capable of
                          automatically firing more than one shot, without manual
                          reloading, by a single function of the trigger, not registered to him
                          in the National Firearms Registration and Transfer Record,

to another person, in or otherwise affecting commerce, knowing or having reasonable cause

to believe that the use, carrying, or possession of the firearm by the recipient would

constitute a felony.

       All in violation of Title 18, United States Code, Sections 933(a)(1) and (b).

                                  FORFEITURE NOTICE

       1.      The allegations contained in this Indictment are hereby realleged and

incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18, United

States Code, Section 924(d), 934(a)(1)(B), and Title 28, United States Code, Section

2461(c).

       2.      Upon conviction of the offenses set forth in Counts 1-7 of this Indictment,

the defendant, shall forfeit to the United States pursuant to Title 18, United States Code,

Section 924(d), and Title 28, United States Code, Section 2461(c), any firearm, or

ammunition involved in the commission of the offense, including, but not limited to:

               A.      a privately manufactured firearm “PMF,” .223/5.56mm caliber, “AR-
                       15 style” rifle, grey and black in color, bearing no serial number, and
                       fitted with a drop-in automatic sear, capable of automatically firing
                       more than one shot, without manual reloading, by a single function of
                       the trigger;

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              B.     a privately manufactured firearm “PMF,” .223/5.56mm caliber, “AR-
                     15 style” rifle, black in color, bearing no serial number, and fitted with
                     a drop-in automatic sear, capable of automatically firing more than
                     one shot, without manual reloading, by a single function of the trigger
                     and a privately manufactured firearm “PMF,” .223/5.56mm caliber,
                     “AR-15 style” pistol, black;

              C.     a stainless steel in color, bearing no serial number, and fitted with a
                     drop-in automatic sear, capable of automatically firing more than one
                     shot, without manual reloading, by a single function of the trigger;

              D.     a privately manufactured firearm “PMF,” .223/5.56mm caliber, “AR-
                     15 style” pistol, pink and black in color, bearing no serial number, and
                     fitted with a drop-in automatic sear, capable of automatically firing
                     more than one shot, without manual reloading, by a single function of
                     the trigger, not registered to him in the National Firearms Registration
                     and Transfer Record; and

              E.     any accompanying ammunition.

3.     Upon conviction of the offenses set forth in Count 7 of this Indictment, the

defendant, shall forfeit to the United States pursuant to Title 18, United States Code,

Section 934(a)(1)(B), any property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of the offense, including, but not limited to:


              A.     a Creality Model K1 3-D Printer, serial number 2AXRHG-K1;

              B.     a   Gateway    laptop    computer,                   serial       number
                     2GWNC31514BK2J1K003665; and

              C.     a Dewalt Premium Compact Router, Model DWP611, serial number
                     DH4F717.




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      All pursuant to Title 18, United States Code, Sections 924(d), 934(a)(1)(B), and

Title 28, United States Code, Section 2461(c).

                                                 A TRUE BILL.

April 2, 2025                            s/ Foreperson
      DATE                               FOREMAN OF THE GRAND JURY


s/Gregory G. Hough, #12860
Assistant U.S. Attorney
for Duston J. Slinkard
Acting United States Attorney
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       IT IS REQUESTED THAT THE TRIAL BE HELD IN TOPEKA, KANSAS




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                                           PENALTIES

Counts 1, 2, 3 and 5: Possession of a Machinegun

    •    Punishable by a term of imprisonment of not more than ten (10) years. 18 U.S.C. §
         924(a)(2).

        •    A term of supervised release of not more than three (3) years. 18 U.S.C. §
             3583(b)(2).

        •    A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

        •    A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

        •    Forfeiture.

Counts 4 and 6:

             •   Punishable by a term of imprisonment of not more than ten (10) years.    26
                 U.S.C. § 5871.

             •   A term of supervised release of not more than three (3) years. 18 U.S.C. §
                 3583(b)(2).

             •   A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

             •   A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

             •   Forfeiture.

Count 7:

             •   Punishable by a term of imprisonment of not more than fifteen (15) years.     18
                 U.S.C. § 933(b).

             •   A term of supervised release of not more than three (3) years. 18 U.S.C. §
                 3583(b)(2).

             •   A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

             •   A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

             •   Forfeiture.




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